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                                    IN THE UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF DELAWARE

                                                               )
In re:                                                         ) Chapter 11
                                                               )
TWC LIQUIDATION TRUST,                                         ) Case No. 18-10601 (MFW)
                                                               )
                             Debtor.                           )
                                                               )
                                                               ) Adv. Proc. No. 22-50476
Dean A. Ziehl, in his capacity as trustee of the TWC           )
LIQUIDATING TRUST,                                             )
                                                               )
                             Plaintiff,                        )
                                                               )
         v.                                                    )
                                                               )
ANDREW R. VARA, in his capacity as the United States           )
Trustee for Region 3; RAMONA D. ELLIOTT, in her                )
capacity as Acting Director of the United States Trustee       )
Program; and the UNITED STATES TRUSTEE                         )
PROGRAM,                                                       )
                                                               )
                             Defendants.                       )
                                                               )

         SUMMONS AND NOTICE OF PRETRIAL CONFERENCE IN AN ADVERSARY PROCEEDING
YOU ARE SUMMONED and required to file a motion or answer to the amended complaint which is attached to this
summons with the clerk of the bankruptcy court within 30 days after the date of issuance of this summons, except that the
United States and its offices and agencies shall file a motion or answer to the amended complaint within 35 days.

                  Address of Clerk:           United States Bankruptcy Court
                                              824 Market Street, 3rd Floor
                                              Wilmington, DE 19801

At the same time, you must also serve a copy of the motion or answer upon the plaintiffs’ attorney. Name and Address of
Plaintiffs’ Attorneys:

                                           PACHULSKI STANG ZIEHL & JONES LLP
                                               Colin R. Robinson (DE Bar No. 5524)
                                              Jason H. Rosell (admitted pro hac vice)
                                            Gail S. Greenwood (admitted pro hac vice)
                                                919 North Market Street, 17th Floor
                                                          P.O. Box 8705
                                           Wilmington, DE 19899-8705 (Courier 19801)
                                                    Telephone: (302) 652-4100
                                                    Facsimile: (302) 652-4400
                                                  Email: crobinson@pszjlaw.com
                                                      jrossell@pszjlaw.com
                                                    ggreenwood@pszjlaw.com




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If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.

YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the amended complaint will
be held at the following time and place.
                         Address: United States Bankruptcy Court     Courtroom No. 4
                         824 Market Street, 5th Floor
                         Wilmington, DE 19801                        Date and Time: February 7, 2023 at 11:30 a.m. (ET)

                             IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO
                             BE YOUR CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND
                             JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED
                             IN THE AMENDED COMPLAINT.
United States Bankruptcy
Court for the District of Delaware                           /s/ Una O’Boyle
                                                             Clerk of the Bankruptcy Court
Date: December 30, 2022




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                                     CERTIFICATE OF SERVICE

I, Colin R. Robinson, certify that I am, and at all times during the service of process was, not less than 18
years of age and not a party to the matter concerning which service of process was made. I further certify
that the service of this summons and a copy of the amended complaint and Notice of Dispute Resolution
Alternatives was made December 30, 2022 by:


        Mail Service: Regular, first class United States mail, postage fully pre-paid and certified mail
        return receipt, addressed to:

                                   SEE ATTACHED SERVICE LIST

        Personal Service: By leaving the process with defendant or with an officer or agent of defendant
at:


        Residence Service: By leaving the process with the following adult at:


        Certified Mail Service on an Insured Depository Institution: By sending the process by certified
mail addressed to the following officer of the defendant at:


        Publication: The defendant was served as follows: [Describe briefly]


        State Law: The defendant was served pursuant to the laws of the State of ___________________,
        as follows: [Describe briefly]                                                  (name of state)

        Under penalty of perjury, I declare that the foregoing is true and correct.


Dated: December 30, 2022                                   /s/ Colin R. Robinson
                                                           Colin R. Robinson (DE Bar No. 5524)
                                                           PACHULSKI STANG ZIEHL & JONES LLP
                                                           919 North Market Street, 17th Floor
                                                           Wilmington, DE 19899-8705 (Courier 19801)




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Weinstein – Service List re US Trustee Fee        First Class Mail and Certified Mail
Complaint                                         Return Receipt
Case No. 18-10601 (MFW)                           Merrick B. Garland, Esq.
Doc. No. 241623                                   Attorney General of the United States of
07 – First Class Mail                             America
07 – Certified Mail                               U.S. Department of Justice
                                                  950 Pennsylvania Avenue, N.W.
                                                  Washington, DC 205330-0001
First Class Mail and Certified Mail
Return Receipt                                    First Class Mail and Certified Mail
Ramona D. Elliott, Esq.                           Return Receipt
Director of the United States Trustee             Hannah M. McCollum, Esq. and Jane
Program                                           Leamy, Esq.
Executive Office of the United States             Trial Attorneys
Trustee                                           Office of the United States Trustee
441 G. Street, N.W., Suite 6150                   U.S. Department of Justice
Washington, DC 20530                              844 King Street, Suite 2207
                                                  Lockbox 35
First Class Mail and Certified Mail               Wilmington, DE 19801
Return Receipt
Andrew R. Vara, Esq.                              First Class Mail and Certified Mail
United States Trustee for Region 3                Return Receipt
Office of the United States Trustee               Joseph J. McMahon, Jr., Esq.
Nix Federal Building                              Assistant United States Trustee
900 Market Street, Room 229                       Office of the United States Trustee
Philadelphia, PA 19107-4228                       J. Caleb Boggs Federal Building
                                                  844 N. King Street, Suite 2207
First Class Mail and Certified Mail               Lockbox 35
Return Receipt                                    Wilmington, DE 19801
United States Attorney’s Office of the
District of Delaware
Attn: Civil Process Clerk
Hercules Building
1313 N. Market Street
Wilmington, DE 19801

First Class Mail and Certified Mail
Return Receipt
The United States Trustee Program
Executive Office for the United States
Trustees
c/o Ramona D. Elliot, Esq.
441 G. Street, N.W., SSuite 6150
Washington, DC 20530




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         v.                                                    )
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ANDREW R. VARA, in his capacity as the United States           )
Trustee for Region 3; RAMONA D. ELLIOTT, in her                )
capacity as Acting Director of the United States Trustee       )
Program; and the UNITED STATES TRUSTEE                         )
PROGRAM,                                                       )
                                                               )
                             Defendants.                       )
                                                               )
                             NOTICE OF DISPUTE RESOLUTION ALTERNATIVES
       As party to litigation you have a right to adjudication of your matter by a judge of this Court. Settlement
of your case, however, can often produce a resolution more quickly than appearing before a judge.
Additionally, settlement can also reduce the expense, inconvenience, and uncertainty of litigation.
        There are dispute resolution structures, other than litigation, that can lead to resolving your case.
Alternative Dispute Resolution (ADR) is offered through a program established by this Court. The use of these
services are often productive and effective in settling disputes. The purpose of this Notice is to furnish
general information about ADR.
         The ADR structures used most often are mediation, early-neutral evaluation, mediation/arbitration and
arbitration. In each, the process is presided over by an impartial third party, called the “neutral”.
        In mediation and early neutral evaluation, an experienced neutral has no power to impose a settlement
on you. It fosters an environment where offers can be discussed and exchanged. In the process, together, you
and your attorney will be involved in weighing settlement proposals and crafting a settlement. The Court in its
Local Rules requires all ADR processes, except threat of a potential criminal action, to be confidential. You
will not be prejudiced in the event a settlement is not achieved because the presiding judge will not be advised
of the content of any of your settlement discussions.
       Mediation/arbitration is a process where you submit to mediation and, if it is unsuccessful, agree that the
mediator will act as an arbitrator. At that point, the process is the same as arbitration. You, through your
counsel, will present evidence to a neutral, who issues a decision. If the matter in controversy arises in the main
bankruptcy case or arises from a subsidiary issue in an adversary proceeding, the arbitration, though voluntary,
may be binding. If a party requests de novo review of an arbitration award, the judge will rehear the case.
      Your attorney can provide you with additional information about ADR and advise you as to
whether and when ADR might be helpful in your case.
Dated: December 30, 2022                                       /s/ Una O’Boyle
                                                               Clerk of the Court


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